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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA
                          CASE NO .11-20279-CR-M ARTINEZ

 UNITED STATES O F AM ERICA,

              Plaintil,

V.

IRINA DOM KOVA,

              Defendant.
                                  I

                           REPORT AND RECO M M ENDATIO N

       O n oraboutNovem ber18,2011,coud-appointed defense counselStuartAdelstein

(d
 'Counsel'')subm itted a voucherapplication numbered FLS 11 2139 with appended time
sheetsrequesting $28,682.50asfinalpaymentforattorney'sfeesandcostspursuanttothe
CriminalJustice Act(the''CJA'').Counselalso submitted a briefIetterdated November28,
2011 in suppod ofhis voucherapplication.

      Counselrepresented DefendantIrinaDomkova('Defendanf')forfive(5)monthsfrom
his appointm enton April6,2011untilSeptem ber13,2011 and seeks com pensation forthis

tim e in the voucherapplication.Afterinitially reviewing the voucherapplication,Irequested

a m ore detailed explanation regarding som e ofthe entries Iisted in the tim e sheets w hich

accom panied Counsel'svoucher.Specifically,Iwas concerned withthe Iarge amountoftime
thatCounselbilled for''Obtaining and reviewing records'
                                                      '-a totalof186.0 hours. In an effort

to alleviate m y concern,Counselwillingly provided m e w i
                                                         th the hard drives containing the

discovery in this case on January 20,2011.
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      Counselseeks $28,682.50inhisapplication,anamountwhichexceedsthe$9,700.00
statutory m axim um allowed forrepresentation in non-capitalfelonycases underthe CJA.As

a result,United States DistrictCourtJudge Jose E.Madinezentered an OrderofReference

IDE # 5621 referring the voucher application to the undersigned for a Report and
Recom m endation as to w hetherthe fees requested by Counselare appropriate.See 28

U.S.C.j 636(a),
              'see also United StatesDistrictCoud forthe Southern DistrictofFlorida
M agistrate Judge Rules.

               Crim inalJustice Actand G uidelines forAdm inistering
                              the Crim inalJustice Act

      The United StatesludicialConferencedevelopedthe GuidelinesforAdm inisteringthe

CJA and Related Statutes (the ''Guidelines'')to assist courts in the application of the
provisionsofthe CJA. See In re Burgez 498 U,S.233,234,111S.Ct.628 (1991). Inthe
Guidelines,judgesare ''urgedto compensate counselata rate and inan amountsufficient
to coverappointed counsel'sgeneraloffice overhead and to ensure adequate com pensation

forrepresentation provided.' See Section5630.20ofthe Guidelines.
      The CJA at 18 U.S.C. j3006A(d)(1) provides that at the conclusion of CJA
representation,an appointed attorney shallbe com pensated fortim e expended in coud and

for tim e ''reasonably expended out of court' and shall be reim bursed 'd
                                                                        for expenses

reasonably incurred.' The district court,as the body em powered to ''fix''CJA appointed

counselcom pensation,has the statutory authority and discretion to determ ine what is a

reasonable expense ora reasonable use ofbillable time.18 U.S.C.j3006A(d)(5),
                                                                           'U.S.7.
Gr/ggs,240 F.3d 974 (11thcir.2001). In orderforthe recommendedfee amounttoexceed
the statutory m axim um ,however,the districtcourtm ustfirstcertify thatthe case invol
                                                                                     ves
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''complex''or'extended''representation.18 U.S.C.j3006A(d)(3).Second,thedistrictcoud
m ustconclude thatthe am ountis necessary to provide Counselwith faircom pensation.

       A case m ay be considered ucom plex''if the Iegalorfactualissues in a case are

unusual,thusrequiringthe expendi
                               ture ofm oretim e,skilland effortbythe Iawyerthanw ould

normally be required inan average case.SeeSection 5230.23.40(b)ofthe Guidelines.A
case m ay be considered ''extended'
                                  'i
                                   fm ore tim e is reasonably required fortotalprocessing
than the average case,including pre-trialand post-trialhearings.Id    .



                                        DISCUSSIO N

                                 This Case W as Com plex

       Underthe G uidelines,in orderto approve a requestforcom pensation in excessofthe

statutory maxim um ,Im ustfirstfind thatthe representation was eithercom plex orextended.

This case was com plex fortwo reasons.

       First,the very nature and numberofcharges involved in this case required Counsel

to expend m ore time,skilland effortthan norm ally required in the average case. This case

originallycommencedwhenthegrandjuryreturned asixty (60)countIndictmentIDE # 1021
chargingfifteen(15)codefendantswithnumerouscrimesincludingconspiracytocommitwire
fraud,wire fraud,conspiracy to com m itfraud in connection w i
                                                             th im m igration docum ents,

fraud in connection w ith im m igration docum ents and bribery ofa public official.

       Defendantwas specifically nam ed inCounts 1,XXIX,XXX ,XXXIIII,XXXV ,XXXVI,XLI,

XLIV and XLV. In Count1,Defendantwas charged with conspiracy to com m itw ire fraud in

violationof18 U.S.C.j 1349. In CountsXXIX,XXX,XXXIV,XXXV and XXXVI,Defendant
wascharged withwire fraud inviolationof18 U.S.C.j 1343. lnCount,XLI,Defendantwas
charged with conspiracy to com m itfraud in connection with im m igration documents in
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violation of18 U.S.C.j 371. lnCountsXLIV and XLV,Defendantwas charged with fraud
in connection with im m igration documents in violation of18 U .S.C.j 1546.

        Defendantfaced a separate maximum term oftwenty (20)years imprisonmentfor
each ofthe following Counts:1,XXIX,XXX,XXXIV,XXXV and XXXVI Defendantfaced a
                                                                      .




term offive (5)years imprisonmenton the conspiracyto commitfraud in connection with
immigrationdocumentschargeandten(lolyearsimprisonmentforthetwoimmigrationfraud
charges. CounselIaterentered a plea of guilty to one count offraud in connection with

immigration documents.Isee DE # 3681. She was sentenced to time served.Isee DE #
3681.
        Second, according tö Counsel, ''discovery was so volum inous'' in this case      .




(November 28,2011 Ietter). Counselprovided the undersigned with the hard drives
containing the discovery that the governm ent produced to Defendant. The hard drives

contained thousands of im ages and docum ents. The sheervolum e of evidence which

Counselhad to review in orderto effectively representDefendantrendered this case m ore

com plex than the average case.

        Itis clearfrom the record thatthe Iegaland factualissues in this case were unusual.

Consequently,lconclude thatthis m atterrequired the expenditure ofm ore time,skilland

effortby Counselthan would normally be required in the average case. As Ihave concluded

thatthe representation provided by Counselw as com plex,Im ustnow review the voucherto

determ ine the appropriate am ountforwhich Counselshould be com pensated in excess of

the $9,700.00 statutorymaximum.




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                      VoucherAm ount-Adm inistrator's Review

      The Coud's CJA adm inistratorfirst reviewed the voucherforcom pliance with the

Guidelinesand m athematicalaccuracypriortom yreview.Counselrequested com pensation

for4.0 in-courthourstotaling $500.00.
      The CJA adm inistratoralso reviewedthe 224.9 out-of-coud hourssoughtby Counsel.

Counselsoughtcompensation for36.4 hours for'lnterviews and conferences''and 186.0

hours for''O btaining and reviewing records.' Counselalso soughtcom pensation for2.5

hoursfor'dLegalresearch and briefw riting.''

      Counselsought$70.00 in ''TravelExpenses.''The CJA adm inistratorincreasedthis
figureto $85.00.
                                   In-courtHoursl

      Counselsoughtcompensation for4.0 in-courthours totaling $500.00. The CJA
adm inistrator m ade no changes to eitherthe totalnum ber of in-court hours orthe total

amountofcompensation soughtforthistime. Iapprove $500.00 asreasonable.
                                  O ut-of-courtHours

      In the voucher,Counselsoughtcom pensation f0r224.9 out-of-coud hours.The CJA

adm inistratorreviewed the voucherand m ade no changes to the num berofout-of-coud

hours orthe totalamountclaimed by Counsel.




         1
        The undersigned defers to the CourtClerk to verify alIin-coud time and expense
  allowances.
                                           -   5-
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      Althoughthevastm ajorityofCounsel'stimeentriesareappropriate,Counselincluded
a few entriesthatwere notsufficiently specific forthe undersigned to determ ine the purpose

ofthe entries. Itwas necessary to contactCounselforan explanation ofthe troublesome

entries. Counselsufficiently explained each and every ofthe vague entries,providing the

undersigned withsufficientinformationtodeterm inethateachentrywasindeed com pensable

underthe CJA.

      Furtherm ore,as lexplained above,Iwas initially concerned w ith the Iarge amountof

hours Counselspent ''O btaining and reviewing records.'' Counsel explained that the

governm entturned overan enorm ous am ountofevi
                                              dence and documents to the defense

in this case. Counselnoted thatthe governm enthad produced the evidence on two Iarge

hard drives. Counselprovided m e w ith the two hard drives so that Im ightbe able to

personally review the amountofdocum entation produced in orderto determ ine w hetherthe

186.0 hours Counselspentreviewing the documents wasa reasonable use ofbillable tim e.

      Afterconducting athorough review ofthe hard drives,the docketandthe record inthis

case, l conclude that the out-of-coud hours Counsellisted in the voucher application,

including the 186.0 hours spent ''Obtaining and review ing records,'' are appropriate.

Accordingly,IrecommendthatCounselshouldbe paid $28,112.50forhisout-of-courthours.
                                        Expenses

      Counselsought$70.00 in'lTravelExpenses.' The CJA administratorincreased this
amountslightlyto $85.00.ThisCJA administratorincreased thisamountbecause Counsel
made a m athem aticalerror on the voucher. I hereby approve the CJA adm inistrator's

adjustmentand approvethe $85.00 amount.

                                           -   6-
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                                   CONCLUSION

      Icom m end Counselforhisprofessionalism and willingnessto take this appointm ent;

the undersigned is appreciative ofhis efforts.As lexplained above,because the
representation in this case was com plex,Irecom mend thatCounselbe reim bursed foran

am ountin excess ofthe statutorymaxim um of$9,700.00.
      Based upon m y review ofthe tim e sheets,the M otion,the docketand filings in this

case,IRECOMMEND thatCounselbe paid $28,697.50 as fairand finalcompensationfor
his work in this case.

      In accordance with 28 U.S.C.j636(b)(1),the padies shallhave foudeen (14)days
from receiptofthisRepod and Recommendationtoserveandfileanywrittenobjections with
the Honorable Jose E.Madinez,United States DistrictJudge.



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                                              s+1o dayofJanuary,2012.
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                                       PETER R.PALERM O
                                       SR.UNITED STATES MAG ISTRATE JUDG E

Copies furnished to:

       Stuad Adelstein,Esq.
       Lucy Lara,CJA administrator




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